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                                         IN THE UNITED STATES DISTRICT COURT
                                         FOR THE NORTHERN DISTRICT OF TEXAS
                                                   DALLAS DIVISION


NATIONAL UNION FIRE INSURANCE                                         §
COMPANY OF PITTSBURGH, PA                                             §
     Plaintiff,                                                       §
                                                                      §
V.                                                                    §       C.A. No.__________________
                                                                      §
BTX GLOBAL LOGISTICS, SPRINT,                                         §
BRIGHTSAR CORP., T.S. EXPRESS,                                        §
INC., FORWARD AIR CORPORATION,                                        §
NORMARK OF TEXAS, LLC, AND                                            §
OSCAR MACEDO CAMPUZANO                                                §
       Defendants                                                     §


                                            PLAINTIFF’S ORIGINAL COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT:

            COMES NOW, National Union Fire Insurance Company of Pittsburgh, PA, underwriter for

AIG and subrogee for Western Tech Systems, Inc. (“Plaintiff”), and files this Original Complaint,

respectfully showing unto the Court as follows:

                                                                         I.
                                                              Jurisdiction and Venue

            1.1          This action arises from loss of cargo, a tort, breach of contract, and/or conversion, and

it is within the jurisdiction of the United States and of this Honorable Court pursuant to the state and

common law.

            1.2          Venue is proper in this Court pursuant to 28 U.S. Code § 1332(a) because the matter

in controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs, and is between

citizens of different states, and the damage occurred within the Northern District of Texas.




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                                                                           II.
                                                              Parties and Service of Process

            2.1          Plaintiff is a Pennsylvania corporation with its principal place of business at in

Pittsburgh, Pennsylvania.

            2.2          On information and belief, Defendant Brightstar Corp. is a Delaware corporation,

not registered to do business in Texas, and, pursuant to Fed.R.Civ.P. Rules 4(b) and (c), Tex.R.Civ.

P. Rule 106, Tex. Civ. Prac. & Rem Code §17.026, and Tex. Admin. Code §17.21, the Clerk is

requested to issue and serve it with two copies of the summons and this Complaint through the

Texas Secretary of State, Citations Division, P.O. Box 12079, Austin, Texas 78711-2079, who is

requested to then serve this Defendant at its principal place of business at 9725 NW 117th Avenue

#105, Miami, Florida 33178.

            2.3          On information and belief, Defendant Sprint is a Kansas corporation not registered

to do business in Texas, and, pursuant to Fed.R.Civ.P. Rules 4(b) and (c), Tex.R.Civ. P. Rule 106,

Tex. Civ. Prac. & Rem Code §17.026, and Tex. Admin. Code §17.21, the Clerk is requested to

issue and serve it with two copies of the summons and this Complaint through the Texas Secretary

of State, Citations Division, P.O. Box 12079, Austin, Texas 78711-2079, who is requested to then

serve this Defendant at its principal place of business at 6200 SPRINT PARKWAY, Overland

Park, Kansas 66251.

            2.4          On information and belief, Defendant Forward Air Corporation is a Tennessee

corporation with the principal place of business at 1915 Snapps Ferry Rd., Bldg. N, Greeneville,

Tennessee 37745-3661, registered to do business in the State of Texas, and, pursuant to

Fed.R.Civ.P. Rules 4(b) and (c), the Clerk is requested to issue and serve them with

summons through their designated registered agent for service of Process, Cogency Global, Inc.,

1601 Elm Street, Suite 4360, Dallas, Texas 75201.



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            2.5          On information and belief, Defendant T.S. Express, Inc., is an Illinois corporation

not registered to do business in Texas, and, pursuant to Fed.R.Civ.P. Rules 4(b) and (c), Tex.R.Civ.

P. Rule 106, Tex. Civ. Prac. & Rem Code §17.026, and Tex. Admin. Code §17.21, the Clerk is

requested to issue and serve it with two copies of the summons and this Complaint through the

Texas Secretary of State, Citations Division, P.O. Box 12079, Austin, Texas 78711-2079, who is

requested to then serve this Defendant at its principal place of business at 1125 McCabe Ave,

Elk Grove Village, Illinois 60007.

            2.6          On        information                and   belief,   Defendant   BTX   Global   Logistics   is   a

Connecticut corporation not registered to do business in Texas, and, pursuant to Fed.R.Civ.P.

Rules 4(b) and (c), Tex.R.Civ. P. Rule 106, Tex. Civ. Prac. & Rem Code §17.026, and Tex. Admin.

Code §17.21, the Clerk is requested to issue and serve it with two copies of the summons and this

Complaint through the Texas Secretary of State, Citations Division, P.O. Box 12079, Austin,

Texas 78711-2079, who is requested to then serve this Defendant at its principal place of business

at 12 Commerce Drive, Shelton, Connecticut 06484.

            2.7          On information and belief, Defendant Normark of Texas, LLC, is a Texas company

with the business address at 14691 Day Rd., Roanoke, Texas 76262-6360 and the Clerk is

requested to issue and serve it with two copies of the summons and this Complaint on its registered

agent, Malinda Hall at 14691 Day Rd., Roanoke, Texas 76262..

            2.8          On information and belief, Defendant, Oscar Macedo Campuzano, driver’s license

no. M232-640-6037, is an Illinois resident with physical address at 7500 Elmhurst Road, Lot 39,

Des Plaines, Illinois, 60018, is a non–resident. Accordingly, pursuant to Sections 17.043, 17.044

and 17.045 of the Texas Civil Practice and Remedies Code, and Rule 4(e) of the Federal Rules of




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Civil Procedure, service of process will be accomplished by substitute service by transmitting a

copy of this Original Complaint by certified mail, return receipt requested, to Defendant’s agent

for service of process in Texas, the Texas Secretary of State, Citations Division, P.O. Box 12079,

Austin, Texas 78711-2079, along with (i) a request that it waive service of the summons pursuant

to Fed.R.Civ.P. Rule 4(d)(1)(A) through (G), (ii) accompanied by two (2) copies of the attached

waiver form, (iii) a prepaid means for returning the waiver, and (iv) the attached notification of

the consequences of waiving and of not waiving service as prescribed in Form 5 of the Federal

Rules of Civil Procedure, stating the date of the requested waiver was sent, and that it has sixty

(60) days to return the waiver.

                                                                  III.
                                                Basis for Complaint and Causes of Action

            3.1          At all times relevant, Western Tech Systems, Inc., by and through its wholly owned

subsidiary ExportTek, Inc., owned 829 6S iPhones from the lot ID No. 052517-D020 containing

the total 1029 iPhones packed in 21 boxes as part of the entire shipment that forms the basis of this

lawsuit per the Purchase Order No. PO2624 dated June 02, 2017 (attached hereto as Exhibit “A”).

            3.2          Western Tech Systems, Inc., by and through its wholly owned subsidiary

EcycleTek, Inc, paid the full amount of $187,146.75 (One Hundred Eighty-Seven Thousand

One Hundred Forty-Six U.S. Dollars and Seventy-Five Cents) for the 829 6S iPhones per the

Sprint Invoice No. AUC-0001286 dated June 2, 2017 (attached hereto as Exhibit “B”).

            3.3          The full shipment of the iPhones was stored at Defendant Brightstar Corp.’s

warehouse as evidenced by the Brightstar Freight Shipping Tracker Form (attached hereto as

Exhibit “C”).




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            3.4          On information and belief, T.S. Express, Inc. transported the shipment in Illinois.

Pursuant to the Driver Information Sheet, Defendant Oscar Macedo Campuzano, a truck driver for

T.S. Express, Inc. with license No. M232-640-6037, was operating the truck with the shipment

(attached hereto as Exhibit “D”).

            3.5          On information and belief, Western Tech Systems, Inc retained Defendant

BTX Global Logistics to transport the shipment of the iPhones from Brightstar Corp.’s warehouse

in Libertyville, Illinois, to Western Tech Systems, Inc.’s warehouse in Carrollton, Texas.

            3.6          On information and belief, Defendant BTX Global Logistics arranged for a pick up

of the shipment from Brightstar Corp. and transportation of the shipment therefrom to

O’Hare Airport in Chicago, Illinois. On or about June 8, 2017, Defendant BTX Global Logistics

issued its Airbill No. DFW20026750 (attached hereto as Exhibit “E”).

            3.7          On or about June 12, 2017, Defendant BTX Global Logistics submitted its

invoice No. 91800013497 for the transportation logistics of the shipment from Defendant

Brightstar Corp. in Libertyville, Illinois, to EcycleTek, Inc.’s warehouse in Carrollton, Texas

(attached hereto as Exhibit “F”). On information and belief, after Forward Air Corporation

transported the shipment from O’Hare Airport in Chicago, Illinois, to Dallas/Fort Worth Airport

in Dallas, Texas, the shipment was picked up by Defendant Normark of Texas, LLC, a local Texas

trucking company and delivered to Western Tech Systems, Inc.’s warehouse in Carrollton, Texas.

            3.8          On or about June 12, 2017, Western Tech Systems, Inc.’s employee discovered the

loss of the 829 iPhones from LOT No. 052517-D020. Western Tech Systems, Inc. reported the

loss to Defendant Brightstar Corp. on or about June 12, 2017, and after denial of liability by

Defendant Brightstar Corp., to Sprint on or about June 15, 2017. On August 18, 2017 Sprint sent

an email communication denying liability for the claim (attached hereto as Exhibit “G”).




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            3.9          On information and belief, Plaintiff remitted payment to Western Tech Systems,

Inc. on its claim for the partial loss of the shipment of iPhones. Plaintiff seeks to recover the

amount it paid for the partial loss of the shipment of iPhones.

            3.10         In consideration of paid purchase, storage, and freight charges, Defendants Sprint

and Brightstar Corp. as seller and shipper in this matter, agreed to provide the full shipment of the

iPhones and to safely receive, handle, load, stow, secure, carry and discharge the shipment of

iPhones in the good order and condition as described in the Sprint invoice.

            3.11         In consideration of paid freight charges, Defendants T.S. Express, Inc., Normark of

Texas, LLC, Oscar Macedo Campuzano, and Forward Air Corporation, as carriers in this matter,

agreed to provide the full shipment of the iPhones and to safely receive, handle, load, stow, secure,

carry, discharge, and deliver the shipment of iPhones in the good order and condition as described

in the Sprint invoice.

            3.12         In consideration of paid freight charges, Defendant BTX Global Logistics, as a

freight forwarder in this matter, agreed to arrange for and provide the full shipment of the iPhones

and to safely receive, handle, load, stow, secure, carry, discharge, and deliver the shipment of

iPhones in the good order and condition as described in the Sprint invoice. The loss of 829 iPhones

from the entire shipment was the direct and proximate result of the actions, or inactions, of

Defendants, which acts or failures to act constitute negligence, gross negligence, breach of contract

of carriage, breach of bailment, failure to perform services in a workmanlike manner and/or breach

of implied and/or express warranties on the part of Defendants, and conversion while the shipment

of iPhones was under Defendants’ exclusive care, custody and control.




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            3.13         Defendants committed at least the following errors and/or omissions, which

proximately caused the damages at issue: failure to use due diligence while transporting and

storing the shipment of iPhones; negligent hiring of transportation companies and their operators;

failure to supervise their employees; conversion of property; and failure to take precautions that

will be revealed during discovery.

            3.14         Plaintiff cannot more specifically allege the act(s) and/or omission(s) constituting

the negligence and gross negligence of Defendants. Plaintiff therefore invokes and relies upon the

doctrines of res ipsa loquitur and respondeat superior because the character of the loss was such

that it would not have happened in the absence of negligence, and the events causing the

occurrence, including without limitation, the handling and carriage of the lost iPhones, was

exclusively within Defendants’ management and control and/or within the management and

control of Defendants’ subordinates, employees, agents, subcontractors, and/or independent

contractors hired by Defendants.

            3.15         Plaintiff’s damages were reasonably foreseeable, and it has sustained damages

totaling at least $187,146.75 (One Hundred Eighty-Seven Thousand One Hundred Forty-Six

U.S. Dollars and Seventy-Five Cents).

                                                                   IV.
                                                              JURY DEMAND

            4.10         Plaintiff demands a jury trial and tenders the appropriate fee with this Complaint.

            WHEREFORE, PREMISES CONSIDERED, Plaintiff, National Union Fire Insurance

Company of Pittsburgh, PA, requests that Defendants Sprint, Brightstar Corp., T.S. Express, Inc.,

BTX Global Logistics, Forward Air Corporation, Normark of Texas, LLC, and Oscar Macedo

Campuzano be required to appear and answer under oath, all and singular, the matters aforesaid,

and after jury trial of the merits of this case, Plaintiff have judgment against Defendants for its



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damages as alleged herein, plus pre-judgment and post-judgment interest at the maximum legal

rates, all costs of Court, and all other and further relief, be it general or special, at law or in equity,

to which Plaintiff may be justly entitled.

                                                              Respectfully submitted,

                                                              THE BALE LAW FIRM, PLLC



                                                               //s// Jeffrey R. Bale
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